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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF NEW YORK

Sonya Coley, et al.                            §
Plaintiffs.                                    §
                                               §
                                               §
V.                                             §       Civil Action No. 1 2-cv-5565
                                               §       (Chen, J)(Reyes, M.J.)
                                               §
                                               §
Vannguard Urban Improvement Ass'n              §
Inc., et al .                                  §
Defendants.

                              PLAINTIFFS' MOTION TO COURT
                                FOR DEFAULT JUDGMENT

         Plaintiffs, Sonya Coley, Ebony Hall, Sonya Johnson, Mossa Jones, Ruth Richardson,

Salika Taylor, Elizabeth Wright and Thomas Pope, move for a Default Judgment under Fed. R.

Civ. P. 55(b)(2). The grounds of this motion are that the defendants have failed to answer or

defend against this claim. This motion is based on the pleadings and papers on file in this case,

the plaintiffs' affidavits, the Declaration of Irene Donna Thomas, Esq., and the attached

memorandum of law.

                                      NOTICE OF MOTION

         Please take notice that Plaintiffs will bring this motion for a default judgment before this

court on May 3, 2013, before the Honorable Pamela K. Chen, United States District Judge,

Eastern District of New York, Chambers N63 1, Brooklyn, NY 11201.

Dated:          Brooklyn, NY
                May 1, 2013


                                               One Donna Thomas
                                               Thomas & Associates
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